AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)           Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                           Middle District of Tennessee

                      United States of America
                                 v.                                           )
                       Maurice Roger Thompson                                 )
                                                                              ) Case No: 3:11-00194
                                                                              ) USM No: 20933-075
Date of Original Judgment:                            June 6, 2013            )
Date of Previous Amended Judgment:                         N/A                ) R. David Baker
(Use Date of Last Amended Judgment if Any)                                        Defendant’s Attorney

                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of X the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ’ DENIED. X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of ninety-two (92)   months is reduced to          eighty-four (84) months            .
                                             (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                          June 6, 2013           shall remain in effect.
IT IS SO ORDERED.

Order Date:             February 12, 2015
                                                                                                         Judge’s signature


Effective Date:         November 1, 2015                                                Todd J. Campbell, U.S. District Judge
                     (if different from order date)                                                    Printed name and title



         Case 3:11-cr-00194                 Document 1931                Filed 02/12/15                Page 1 of 1 PageID #: 11607
